

Fresh Air for The Eastside, Inc. v State of New York (2025 NY Slip Op 02536)





Fresh Air for The Eastside, Inc. v State of New York


2025 NY Slip Op 02536


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: CURRAN, J.P., MONTOUR, SMITH, NOWAK, AND DELCONTE, JJ. (Filed Apr. 25, 2025.)


MOTION NO. (419/24) CA 23-00179.

[*1]FRESH AIR FOR THE EASTSIDE, INC., PLAINTIFF-RESPONDENT-APPELLANT, 
vSTATE OF NEW YORK, NEW YORK STATE DEPARTMENT OF ENVIRONMENTAL CONSERVATION, DEFENDANTS-APPELLANTS, CITY OF NEW YORK, DEFENDANT-RESPONDENT, AND WASTE MANAGEMENT OF NEW YORK, LLC, DEFENDANT-APPELLANT-RESPONDENT.



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals denied.








